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AO 245B      Judgment in a Criminal Case
(Rev. 12/19) Sheet I


                                           UNITED STATES DISTRICT COURT
                                         Middle District of Georgia
                UNITED STATES OF AMERICA               JUDGMENT IN A CRIMINAL CASE
                           V.
                                                                          Case Number:               7:22-CR-00005-WLS-TQL( I)
                       JUAN PEREZ-AMBROSIO
                                                                          USM Number:                81881-509
                                                                         TIMOTHY RSA VIELLO
                                                                          Defendant's Attorney

THE DEFENDANT:
121 pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
     which was acceoted bv the court.
D was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
Title & Section/ Nature of Offense                                                       Offense Ended                  Count
8: 1326(a) Illegal Reentry                                                               09/21/2021                     I




        The defendant is sentenced as provided in pages 2 through _ _4.:__ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D    The defendant has been found not guilty on count(s)

D    Count(s)                                         D    is   D   are dismissed on the motion of the United States.
                -------------
          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                           W. LOUIS SANDS
                                                                           SENIOR UNITED STATES DISTRICT JUDGE
                                                                           Name and Title of Judv        jt.- '2--
                                                                                                         7
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AO 2458      Judgment in Criminal Case
(Rev. 12/19) Sheet 2 - Imprisonment

                                                                                                    Judgment - Page      2   of   4
  DEFENDANT:                    WAN PEREZ-AMBROSIO
  CASE NUMBER:                  7:22-CR-00005-WLS-TQL(l)



                                                               IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term of:    TIME SERVED. You are to be delivered to a duly authorized Immigration and Customs
  Enforcement official for the appropriate proceedings. If deported, you shall not re-enter the United States
  unless you obtain legal means of entry.


       D      The comt makes the following recommendations to the Bureau of Prisons:
               Click here to enter text.



       IZJ    The defendant is remanded to the custody of the United States Marshal.

       D      The defendant shall surrender to the United States Marshal for this district:

             D     at                             D    a.m.     D    p,m,      on

             D     as notified by the United States Marshal.

       D      The defendant shall sunender for service of sentence at the institution designated by the Bureau of Prisons:

             D     before 2 p.m. on

             D     as notified by the United States Marshal.

             D     as notified by the Probation or Pretrial Services Office,


                                                                    RETURN

  I have executed this judgment as follows:


             Defendant delivered on                                                      to

  at                                           __ , with a certified copy of th is judgment.


                                                                                                  UNITED STATES MARSHAL



                                                                            By
                                                                                               DEPUTY UNITED STATES MARSHAL
                          Case 7:22-cr-00005-WLS-TQL Document 28 Filed 07/08/22 Page 3 of 4

 AO 245B      Judgment in a Criminal Case
 (Rev. 12/19) Sheet 5 - Criminal Monetary Penalties

                                                                                                           Judgment - Page       3        of           4
  DEFENDANT:                           JUAN PEREZ-AMBROSIO
  CASE NUMBER:                         7:22-CR-00005-WLS-TQL(l)

                                               CRIMINAL MONETARY PENALTIES
            The defendant must pay the total criminal monetaiy penalties under the schedule of payments on Sheet 6.

                                 Assessment               Restitution                 Fine               AV AA Assessment*           JVTA Assessment**
  TOTALS                                 $100.00                   $.00                         $.00                   $.00             $Click here to
                                                                                                                                                enter text.

  •      The determination ofrestitution is deferred until - - - - - - - - An Amended Judgment in a Criminal Case (A0245C) will be
         entered after such determination.
  D      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

            If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified othen-vise in
            the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfcderal victims must be paid
            before the United States is paid.



  D       Restitution amount ordered pursuant to plea agreement$
  D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before
         the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(!). All of the payment options on Sheet 6 may be
         subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
  D      The comt detennined that the defendant does not have the ability to pay interest and it is ordered that:
         D the interest requirement is waived for the               •fine                                  •
                                                                                                         restitution
         D the interest requirement for the                         •fine                                  •
                                                                                                         restitution is modified as follows:

  * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub.L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. I 14-22.
*** Findings for the total amount of losses are required under Chapters 109A, I IO, l lOA, and 113A of Title 18 for offenses committed on or after September
      13, 1994, but before April 23, 1996.
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 AO 2458      Judgment in a Criminal Case
 (Rev. 12/19) Sheet 6-Schcdulc of Payments

                                                                                                                   Judgment- Page      4     of        4
  DEFENDANT:                  JUAN PEREZ-AMBROSIO
  CASE NUMBER:                7:22-CR-00005-WLS-TQL(l)

                                                          SCHEDULE OF PAYMENTS
  Having assessed the defendant's ability to pay, payment of the total criminal monetmy penalties is due as follows:

  A
       •    Lump sum payment of$                            _       due immediately, balance due

             •    not later than                                          , or
             •     in accordance with        •   C,     •       D     •          E, or   •        F below; or

  B    l8l Payment to begin immediately (may be combined with                        •       C,       •    D, or    l8l F below); or
  C    D    Payment in equal _ _ _                    (e.g., weekly, monthly, quarter/;1 installments of $         _____            over a period of
                             (e.g., months or years), to commence                  ___ (e.g., 30 or 60 days) after the date of this judgment; or

  D    D    Payment in equal              _ _ _ (e.g., weekly, monthly, quarter/;1 installments of $           _ _ _ over a period of
                             (e.g., months or years), to commence      _ __ (e.g., 30 or 60 days) after release from imprisonment to a
            tenn of supervision; or

  E    D     Payment during the tem1 of supervised release will commence within   _ _ _ _ . (e.g., 30 or 60 days) after release from
             imprisonment. The comt will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

  F    l8J Special instructions regarding the payment of criminal monetaty penalties:
  Any criminal monetary penalty ordered by the court shall be due and payable in full innnediately. Present and future Assets are subject tc
  enforcement and may be included in the treasury offset program allowing qualified federal benefits to be applied to the balance of crimina
  monetaty penalties.

  Payment during the term of supervised release will commence within 60 days after release from imprisonment. The court will set the paymen
  plan based on an assessment of the defendant's ability to pay at that time. (fine/restitution) payment shall be due during the period ff
  imprisonment at the rate of not less than $25 per quarter and pursuant to the bureau of prisons' financial responsibility program. The value ff
  any future assets may be applied to offset the balance of criminal monetary penalties. The defendant may be included in the treasmy offse
  program, allowing qualified benefits to be applied to offset the balance of any criminal monetmy penalties.

  Unless the comt has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due durin/
  imprisonment. All criminal monetmy penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financia
  Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  D      Joint and Several

         Defendant and Co-Defendant Names and Case Numbers (h1cludtng defendant numbe,), Total Amount, Joint and Several Amount,
         and conesponding payee, if appropriate.


  D      The defendant shall pay the cost of prosecution.

  D      The defendant shall pay the following court cost(s):

  D      The defendant shall forfeit the defendant's interest in the following prope1ty to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and comt costs.
